         Case 2:09-cv-14344-KMM Document 1 Entered on FLSD Docket 10/07/2009 Page 1 of 8




                                                      09-14344-CIV-MOORE/LYNCH




                                                                 Oct. 7, 2009




1 of 8
         Case 2:09-cv-14344-KMM Document 1 Entered on FLSD Docket 10/07/2009 Page 2 of 8




2 of 8
         Case 2:09-cv-14344-KMM Document 1 Entered on FLSD Docket 10/07/2009 Page 3 of 8




3 of 8
         Case 2:09-cv-14344-KMM Document 1 Entered on FLSD Docket 10/07/2009 Page 4 of 8




4 of 8
         Case 2:09-cv-14344-KMM Document 1 Entered on FLSD Docket 10/07/2009 Page 5 of 8




5 of 8
         Case 2:09-cv-14344-KMM Document 1 Entered on FLSD Docket 10/07/2009 Page 6 of 8




6 of 8
         Case 2:09-cv-14344-KMM Document 1 Entered on FLSD Docket 10/07/2009 Page 7 of 8




7 of 8
         Case 2:09-cv-14344-KMM Document 1 Entered on FLSD Docket 10/07/2009 Page 8 of 8




                                                       09-14344-CIV-MOORE/LYNCH




                                                                  Oct. 7, 2009




8 of 8
